Case 2:20-cv-05581-DSF-GJS     Document 441     Filed 05/08/25   Page 1 of 1 Page ID
                                     #:7993


   1 MEIR J. WESTREICH [CSB 73133]
     Attorney at Law
   2 221 East Walnut, Suite 200
     Pasadena, California 91101
   3 626.676.3585
     meirjw@aol.com
   4
   5   Attorney [Criminal Contempt] for
            Defendant Edward Heldman III
   6
   7
   8                        UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10
  11    B E Y O N D           B L O N D ) Case No. 2:20-cv-05581-DSF-GJSx
  12    PRODUCTIONS, LLC, a California )
        Limited Liability Company,            )   Honorable Dale S. Fischer
  13                                          )
                                   Plaintiff, ) NOTICE OF APPEAL FROM
  14                                          ) ORDERS ENTERED APRIL11, 2025
        v.                                    ) [DKT 433] AND APRIL 30, 2025
  15                                          ) [DKT 436]
        EDWARD HELDMAN III, an )
  16    individual, et al.,                   ) Courtroom: 7D, First Street Courthouse
                                              )
  17                            Defendants. )
        Related Cross-Complaint               )
  18          Notice is hereby given that Defendant Edward Heldman III hereby appeals
  19   from Orders entered April 11, 2025 [Dkt 433] and April 30, 2025 [Dkt 436],
  20   separately and in combination, filed and entered by United States District Court,
  21   Central District of California, Hon. Dale S. Fischer, United States District Judge,
  22   presiding; and from previous Order [Dkt 407] [02.28.25] and Magistrate Judge Order
  23   [Dkt 411] [03.07.25] entered and expressly or necessarily incorporated into the
  24   aforementioned Orders [Dkt 433 and Dkt 436].
  25   Dated: May 8, 2025                     Respectfully submitted,
  26                                             s/ Meir J. Westreich
  27                                          ________________________________
                                              Meir J. Westreich
  28                                          Attorney for Edward Heldman III
